        Case 4:05-cr-00024-DLH          Document 47        Filed 12/02/05      Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                             NORTHWESTERN DIVISION

United States of America,     )
                              )
             Plaintiff,       )     ORDER DENYING GOVERNMENT’S MOTION
                              )     FOR REVOCATION OF CONDITIONAL
       vs.                    )     RELEASE
                              )
Dusty Joan O’Berry,           )     Case No. C4-05-024-02
                              )
             Defendant.       )
                              )
______________________________________________________________________________

       On December 2, 2005, the court conducted a hearing on the government’s Motion for

Revocation of Conditional Release pursuant to 18 U.S.C. § 3148. AUSA Clare Hochhalter appeared

on the government’s behalf. Attorney Justin Hager appeared on the defendant’s behalf.

        The defendant is alleged to have violated the conditions of presentence release imposed by

Chief Judge Daniel on September 13, 2006. First, she failed to report as directed for urine testing

on at least four occasions. Second, she violated the condition that she not commit any violations of

federal, state, tribal, or local law while on release. Third, she accessed Internet chat rooms using

computers at the Minot Public Library despite the fact that she was prohibited from accessing the

Internet from any location. Fourth, she accessed the Internet from her home after establishing

Internet service through her local telephone company.

       Based upon the evidence presented at the hearing, the court finds that there is probable cause

to believe the defendant committed an offense–driving while under suspension–while on release.

The court further finds that there is clear and convincing evidence that the defendant violated the

conditions of her release in that she accessed the Internet without prior authorization and that she


                                                 1
        Case 4:05-cr-00024-DLH           Document 47        Filed 12/02/05      Page 2 of 2




consumed alcoholic beverages. Nevertheless, for the reasons articulated on the record, the court

concludes that the defendant is not a flight risk and does not pose a serious danger to the community.

       Accordingly, the court DENIES the government’s Motion for Revocation fo Conditional

Release and continues the defendant's release on the present conditions pending sentencing.

       IT IS SO ORDERED.

       Dated this 2nd day of December, 2005.




                                                      /s/ Charles S. Miller, Jr.
                                                      Charles S. Miller, Jr.
                                                      United States Magistrate Judge




                                                  2
